Case 2:05-Cr-20280-BBD Document 10 Filed 08/12/05 Page 1 of 2 Page|D 10

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Western Division

 
  
  

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UNITED sTATEs oF AMERICA _ CLE;§§'§ H:HPHS

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-vs- Case No. 2:05cr20280-2-D
EMANUEL Y. BERRY

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):
APPOINTMEN'I` OF COUNSEL
~ The F ederal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT

DoNE and 0RDERED in 167 Norch Main, Memphis, this ll day cf August,

 

2005.
TU M. PHAM
UNITED STATES MAGISTRATE JUDGE
Copies furnished to:
United States Attorney
United States Marshal

Pretrial Services Oftice

Assistant Federal Public Defender
lntake

EMANUEL Y. BERRY

Th!s document entered on the docket sheet l compliance
with nme ss ana/or 32{!>) FnCrP on f 122 'Q5 /0

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 10 in
case 2:05-CR-20280 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

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PDA

FEDERAL PUBLIC DEFENDER
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Honorable Bernice Donald
US DISTRICT COURT

